                                                                                                      __________




                  Case 9:23-bk-10690-RC                    Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37                               Desc
                                                           Main Document    Page 1 of 28
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                        1J Check if this an
                                                                                                                            amended filing




Officia’ Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.
      Debtor’s   name
                                   SA Hospital

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor’s federal
      Employer Identification      852379265
      Number (EIN)


 4.   Debtor’s address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business

                                   4308 Via Entrada
                                   Newbury Park, CA 91320
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                   Ventura                                                        Location of principal assets, if different from principal
                                   County                                                         place of business
                                                                                                  3933 S. Broadway Saint Louis, MO 63118
                                                                                                  Number, Street, City, State & ZIP Code


 5.   Debtor’s website CURL)


 6.   Type of debtor               • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                   0 Other. Specify:




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 1
                    Case 9:23-bk-10690-RC                      Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37                                    Desc
Debtor       SA HosDital Acauisition Grouo. LLC
                                                               Main Document    Page 2Case
                                                                                       of 28
                                                                                           number (if known)
             Name



7.      Describe debtor’s business        A. Check one:
                                          I Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             SingleAsset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          E1 Railroad (as defined in ii U.s.C. § 101 (44))
                                          D Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                             Commodity Broker (as defined in ii U.S.C. § 101(6))
                                          D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          D None of the above

                                          B. Check all that apply
                                          0 Tax-exempt entity (as described in 26 U.S.C. §501)
                                          0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S C. §80a-3)
                                                                                                                                             -




                                          0 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                          C. NAICS (North American Industry Classification system) 4-digit code that best describes debtor. See
                                             http:l/www.uscourts.gov/four-digit-national-association-naics-codes.



8.       Under which chapter of the       Check one:
         Bankruptcy Code is the           0 Cha ter 7
         debtor filing?
        A debtor who is a “small
                                          0 Chapter 9
        business debtor’ must check       • Chapter 11. Check all that apply:
        the first sub-box. A debtor as
        defined in § 1182(1) who                               0    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its aggregate
        elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
        subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
        (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
        “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1 )(B),
        check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                                                         .                    .




                                                               0
                                                                                 .




                                                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                    balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                    any of these documents do not exist, followthe procedure in 11 U.S.C. § 1116(1)(B),
                                                               0    A plan is being filed with this petition.
                                                               0    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                               0    The debtor is required to file periodic reports (for example, 10K and 1OQ) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                    Attachment to Voluntaty Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A) with this form.
                                                               0    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          0 Chapter 12

 9.      Were prior bankruptcy            • No
         cases filed by or against
                                             Yes.
         the debtor within the last 8
         years?
         If more than 2 cases, attach a
                                                    District                                 When                          Case number
         separate list.
                                                    District                                 When                          Case number




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                     Case 9:23-bk-10690-RC                                      Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37                                                                         Desc
Debtor       SA Hospital Acquisition Group, LLC
                                                                                Main Document    Page 3Case
                                                                                                        of number
                                                                                                            28 (if known)
             Name

      List all cases. If more than 1
                                                           Debtor                                                                                                         Relationship
      attach a separate list
                                                           District                                                          When                                         Case number, if known



11.   Why is the case filed in             Check all that apply:
      this district?                       [jj        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                           F          A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district.


12.   Does    the   debtor own


              possession
                                     or


                                 of any
                                           [     No

                                                                                                                                  .     .
      have


      real   property      or   personal
                                           [El   Yes.     Answer below               for   each   property      that   needs      immediate         attention.   Attach   additional   sheets   if   needed.




      property      that   needs


      immediate       attention?                          Why          does    the    property      need      immediate        attention?           (Check all that apply.)

                                                          fl   It      poses    or   is   alleged   to   pose   a   threat   of   imminent      and     identifiable   hazard   to   public   health   or   safety.
                                                               What       is   the   hazard?




                                                          fl It needs to be physically secured or protected from the weather.
                                                                                           or assets that could quickly deteriorate or lose value without attention (for example,
                                                          fl It includes perishable goodsmeat,
                                                               livestock, seasonal goods,      dairy, produce, or securities-related assets or other options).

                                                          ri Other
                                                          Where is the property?
                                                                                                                Number, Street, City, State & ZIP Code
                                                          Is the property insured?
                                                          ElNo
                                                                               Insurance agency
                                                          El Yes.
                                                                               Contact name
                                                                               Phone



             Statistical and administrative information

13.   Debtors estimation of                .            Check one:
      available funds
                                                        Ii Funds will be available for distribution to unsecured creditors.
                                                                           .                .             .




                                                        [1 After any administrative expenses are paid, no funds will be available to unsecured creditors.
14.   Estimated number of                  El 1-49                                                                     [1 1,000-5,000                                           [1 25,001-50,000
      creditors                            El 50-99                                                                    [E 5001 -1 0,000                                         Fl 50,001-100,000
                                           El 100-199                                                                  fl 10,001-25,000                                         [1 More thanl0o,000
                                           [l 200-999
15.      Estimated Assets                        $0- $50,000                                                           El $1,000,001 $10 million
                                                                                                                                            -                                   El $500,000,001 $1 billion  -




                                           El $50,001 -$100,000                                                        [l $10,000,001 -$50 million                              [El $1,000,000,001 -$10 billion
                                           [1 $100,001 $500,000    -                                                   El $50,000,001 $100 million
                                                                                                                                                -
                                                                                                                                                                                [El $10,000,000,001 $50 billion     -




                                           El    $500,001          -   $1 million                                      El $100,000,001 $500 million -                           El More than $50 billion
16.      Estimated liabilities             El $0- $50,000                                                              El $1,000,001 $10 million
                                                                                                                                            -                                    El $500,000,001 $1 billion -




                                           El $50,001 $100,000 -                                                       El $10,000,001 $50 million
                                                                                                                                                -                                El $1,000,000,001 $10 billion  -




                                           El $100,001 $500,000    -                                                   [Vl $50,000,001 $100 million
                                                                                                                                                -                                El $10,000,000,001 $50 billion     -




                                           [1 $500,001             -   $1 million                                      El $100,000,001 $500 million -
                                                                                                                                                                                 F More than $50 billion




 Official Form 201                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  page 3
                Case 9:23-bk-10690-RC                    Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37             Desc
Debtor    SA Hospital Acquisition Group, LLC
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                                                                                     number (if known)


                                $50,001   -       $100,000               $10,000,001 -$50 million       $1,000,000,001 -$10 billion
                             E1 $100,001 $500,000
                                              -                        • $50,000,001 $100 million
                                                                                      -
                                                                                                      C $10,000,000,001 -$50 billion
                             D $500,001 -$1 million                    C $100,000,001 -$500 million   C More than $50 billion




 Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 4
_______

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                                                                                  5 of  28 (iIkiiown)
                                                                                      number
)sbior    SA Hospital Acquisition Group, LLC
          Name



          Request for Relief, Declaration, and Signatures

                                                                                                            case can result in fines up to soo,ooo or
WARNING    -   Bankruptcy fraud isa serious crime. Making a false statement in connection with a bankruptcy
               imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341, 1518. and 3571.

IT. Declaration and signature                                                                                                    specified in ttns petition.
    of authorized                   The debtor requests relief ri accordance with the chapter of title 11, United States Code,
    representative of debtor
                                    I have been authorized to file this petition on behalf of the debtor.
                                                                                                                                         is true and correct.
                                    I have examined the information in this petition and have a reasonable belief that the information

                                    I declare under penalty of perjury that the foregoing is true arid correct.

                                    Executed on        ‘j )1 ) lc3-’)
                                                     MM/OD/t’YYY


                               x                                                                              Jeffrey Ahihoim
                                                                                                              Printed name
                                    Signature of thdr4d representative of debtor

                                    Title   Co-Managing Member




18. Signature of attorney
                                X    Ms/ .2 ô”
                                    Signa   re of attorney for debtor /f
                                                                                                                  oate0/)2
                                                                                                                    MM/DO VYYY

                                     Michael Jay Berger
                                     Printed name

                                     Law Offices of Michael ay Berger
                                     Firm name

                                     9454 WilshIre Boulevard, 6th floor
                                     Beverly Hills, CA 90212
                                     Number, Street, City, State & ZIP Code

                                                        (310) 271-6223                Email address         mlchael.bergerbankruptCyPOwer.com
                                     Contact phone

                                     100291 CA
                                     Bar number and State




                                                                                                                                                                pageS
  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                ______
                                                                                 ______
                                               ______      _______
                               ___________




                    Case 9:23-bk-10690-RC                Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37                                                 Desc
                                                         Main Document    Page 6 of 28
Fill in this information to identify the case:
Debtor name Hospital Acquisition Group, LLC
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                              C Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                       amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                                                                                                             12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter II or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and        Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address,   and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill fl only unsecured claim amount. If
including zip code          creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if             Deduction for value       Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
Allscripts                                            Vendor’s debt                                                                                              $684,195.21
Healthcare                                            incured prior to
24630 Network                                         asset purchase by
Place                                                 AHS
Chicago, IL
60673-1246
AMN Healthcare                                        Vendor’s debt                                                                                              $343,454.76
File 56157                                            incured prior to
Los Angeles, CA                                       asset purchase by
90074-6157                                            AHS
Andrew Friedman                                       Loan                                                                                                       $250,000.00
124 N. La Brea Ave.,
Ste V
Los Angeles, CA
90036
AYA Healthcare                                         Vendor’s debt                                                                                             $349,312.39
PC Box 123519                                          incured prior to
Dallas, TX 75312                                       asset purchase by
                                                       AHS_________
 Aztec Leasing, Inc                                    Vendor                                                                                                    $343,116.12
 2215 Vista Rodeo
 Dr.
 El Cajon, CA 92019
 Cardinal Health                                       Vendor’s debt                                                                                             $645,213.80
 P0 Box 70539                                          incured prior to
 Chicago, IL                                           asset purchase by
 60673-0539                                            AHS
 Comphealth                                            Vendor’s debt                                                                                             $420,669.11
 P0 Box 972651                                         incured prior to
 Dallas, TX                                            asset purchase by
 75397-2651                                            AHS
 EASI                                                  Vendor                                                                                                    $269,581.12:
 P0 Box 198531
 Atlanta, GA
 30384-8531




Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who -(ave the 20 Largest Unsecured claims                                page 1
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Debtor       SA Hospital Acquisition Group, LLC                                                     Case number (if known)
             Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount, If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                                                                   Total claim, if             Deduction for value       Unsecured claim
                                                                                                   partially secured          of collateral or setcff
IWC Innovations                                     Vendor                                                                                                     $268,304.70.
704 S. State Road
135, Suite D348
Greenwood, IN
46143
Medline                                             Vendor’s debt                                                                                           $1,113,379.96
Dept CH 1440                                        incured prior to
Palatine, IL                                        asset purchase by
60055-4400                                          AHS__________
Medtronic USA                                       Vendor’s debt                                                                                              $373,054.64
PC Box 848086                                       incured prior to
Dallas, TX                                          asset purchase by
75284-8086                                          AHS
Missouri State                                      State taxes                                                                                                $292,105.91
Taxes
P0 Box 999
Jefferson City, MO
651 08-0999
Mondern HR                                          Vendor                                                                                                  $1,400,000.00
7590 N. Gelnoaks
Blvd
Burbank, CA 91504
Nomad Nurses                                        Vendor’s debt                                                                                           $1,670,269.07
PC Box 736670                                       incured prior to
Dallas, TX                                          asset purchase by
  53     -



Nursefinders                                         Vendor’s debt
P0 Box 910738                                        incured prior to
Dallas, TX                                           asset purchase by
                                                   I
75391-0738                                           AHS
SA Hospital                                          Loan                                                                                                      $690,740.00
Jefferson LLC
3535 South
Jefferson
Saint Louis, MO
63118
The Metropolitan St                                 judgment                                                                                                   $263,432.53
 Louis Sewer Dis
do Randall E.
Gusdorf, Esq.
Gusdorf Law Firm,
 LLC
 9666 Olive Blvd., Ste
 211
 Saint Louis, MO
 63132
 TVT 2.0 LLC                                         Loan                                                                                                   $6,500,000.00
 8 Hunters Ln.
 Roslyn, NY 11576




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                                                                                                      ___
                                                                                ___________         ___________
                                                                      _____
                                           __        ___________
                            ___________




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                                                                                                     Case number (if known)
Debtor    SA HospI Acquisition Group, LLC
          Name

Name of creditor and        Name, telephone number Nature of claim              Indicate if claim   Amount of claim
complete mailing address,   and email address of   (for example, trade           is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code          creditor contact       debts, bank loans,           unhiquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,           disputed        value of collateral or setoff to calculate unsecured claim
                                                                                                    Total claim, if             Deduction for value       Unsecured claim
                                                                                                    partially secured          of collateral or setoff
Twain GL XXV, LLC                                     Delinquent rent                                                                                           $850,000.00
2200 Washington                                       for the Ground
Ave.                                                  Lease
Saint Louis, MO
63103
Western HealthCare                                    Vendor                                                                                                    $346,162.49
13155 Noel Road,
Suite 200
          TX   75240
Dallas,




Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 3
                                                                                      _______

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                                                     United States Bankruptcy Court
                                                           Central District of California
                                                                                                                   Case No.
 In re    SA Hospital Acquisition Group1 LLC
                                                                              Debtor(s)                            Chapter       11


                                                LIST OF EQUITY SECURITY HOLDERS
                                                                                                  with rule 1007(a)(3) for filing in this Chapter II Case
Following is the list of the Debtor’s equity security holders which is prepared in accordance

                                                           Security Class Number of Securities                                Kind of Interest
Name and last known address or place of
business of holder
David iertei, MD                                                                 7%
246 Oak Island Dr.
Walled Lake, Ml 48390


Jeffrey Ahiholm                                                                  45%
4308 Via Entrada
Newbury Park, CA 91320

 Lawrence E. Feigen                                                              45%
 703 Park Lane
 Cedarhurst, NY 11516

 Troy Schell                                                                     3%
 269 W. Bonita Ave
 Claremont, CA 91711



                                                                                                 OF CORPORATION OR PARTNERShIp
 I)ECLARATION UNDER PENALTY OF PERJURY ON BEHALF
                                                                            named as the debtor in this case, declare under
        I, Jeffrey Ahihoim, as the Co-Managing Member of the corporation
                                                                          Holders and that it is true and correct to the best
penalty of perjury that I have read the foregoing List of Equity Security
of my information and belief.



  Date                j                                                  Signare
                                                                                        Jeffrey Ah1iolm

                                                                                                         or imprisonment for up to 5 years or both
                    Penakyfor making afal.re .r,arement of concealing proierIy: Fine of up to $500,000
                                                                     18 U.S.C. § 152 and 357L




 Sheet I of I in List of Equity Security Holders

                                                                                                                   I
                                                                                                               /
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                                  STATEMENT OF RELATED CASES
                               INFORMATION REQUIRED BY LBR 1015-2
                UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
                                                                                                                    of the debtor, any
    against the debtor, hislher spouse, his or her current or former domestic partner, an affiliate
                                              debtor   is or  formerly was  a    general   or  limited  partner,   or  member, or any
    copartnership or joint venture of which
                 of which the debtor is a director, officer, or person in control,    as follows:   (Set  forth the   Compl ete number
    corporation
                                                                                          Bankruptcy     Judge     and         to whom
    and title of each such of prior proceeding, date filed, nature thereof, the                                         court
                                                                              If  none,  so   indicate.  Also,   list any real  property
    assigned, whether still pending and, if not, the disposition thereof.
    included in Schedule A/B that was filed with  any  such  prior proceeding(s   ).)
 None
                                                                                                                    1898 or the Bankruptcy Reform
2.  (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of
                                   been  filed by   or against   the  debtor      or  an   affiliate   of  the    debtor,   or a general partner in the
    Act of 1978 has previously
                                                                                            in  control     of  the  debtor,   partnership in which the
    debtor, a relative of the general partner, general partner of, or person
                                                                            or  person     in  control     of  the   debtor   as  follows: (Set forth the
    debtor is a general partner, general partner of the debtor,
                                                   prior proceeding,        date   filed,  nature      of  the    proceeding,    the  Bankruptcy Judge
    complete number and title of each such
                           assigned,  whether    still pending   and,    if  not,  the   disposition        thereof.   If none,    so indicate. Also, list
    and court to whom
                                                                                                                         ).)
    any real property included in Schedule A/B that was filed with any such prior proceeding(s
 None
                                                                                                     or the Bankruptcy Reform Act of 1978 has
3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898
                                                          or  any  of  its   affiliates   or  subsidiaries,        a director of the debtor, art officer
     previously been filed by or against the debtor,                                                                         partner, a general partner
                                          of the  debtor,  a   partnership      in  which     the   debtor     is  general
    of the debtor, a person in control                                                                                             or any persons, firms
                                                                                                  in             of the  debtor,
     of the debtor, a relative of the general partner, director, officer, or person control                                   number    and title of each
                                                                                          (Set     forth   the    complete
     or corporations owning 20% or more of its voting stock as follows:                                                   to  whom    assign ed, whether
                                                                        the    Bankruptcy        Judge      and    court
     such prior proceeding, date filed, nature of proceeding,                                                          property    includ ed in Schedule
                                                  thereof.   If none,    so   indicate.     Also,    list  any    real
     still pending, and if not, the disposition
     NB that was filed with any such prior proceeding(s).)
 None
                                                                                            Act of 1978, including amendments thereof, has
4. (If petitioner is an individual) A petition under the Bankruptcy Reform
                                                                   days:      (Set  forth   the    complete number and title of each such prior
     been filed by or against the debtor within the last 180
                                                             the   Bankruptcy         Judge       and     court to whom assigned whether still
     proceeding, date filed, nature of proceeding,
                                                                                               list any real property included in Schedule NB
     pending, and if not, the disposition thereof. If none, so indicate. Also,
     that was filed with any such prior proceeding(s).)
 N one

 I declare, under penalty of perjury, that the foregoing is true and correct.
                                                                                                              -




                                                                                                                        ,




     Executed at    Newbury Park                                    ,California.                                                   ____



                                                                                                     Jeffrey AhIolm
                                                                                                     Signature of Debtor 1
     Date:


                                                                                                     Signature of Debtor 2




                                                                                                            Court for the Central Oislricl of California
                     This form is mandatory. It has been approved for use in the united States Bankruptcy

             2018
                                                                                               F 1015-2,1 .STMTRELATED.CASES
         Case 9:23-bk-10690-RC                     Doc 1 Filed 08/11/23 Entered 08/11/23 18:18:37                                                       Desc
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Attorney or Party Name, Address, Telephone & FAX Nos.,
State Bar No. & Email Address
Michael Jay Berger
9454 Wilshire Boulevard, 6th floor                     I
Beverly Hills, CA 90212
(310) 271-6223 Fax: (310) 271-9805
California State Bar Number: 100291 CA
michael.bergerbankruptcypower.com




C Debtor(s) appearing without an attorney
    Attorney for Debtor

                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

Inre:
                                                                                  CASE NO.:
           SA Hospital Acquisition Group, LLC
                                                                                  CHAPTER: 11
                                                                              1




                                                                                                  VERIFICATION OF MASTER
                                                                                                 MAILING LIST OF CREDITORS

                                                                                                                  [LBR 1007-1(a)J

                                                            Debtor(s).

                                                                                ble, certifies under penalty of perjury that the
Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applica
                                                      ptcy case, consis ting of   14 sheet(s) is complete, correct, and
master mailing list of creditors filed in this bankru
                                                                                    errors and omissions.
consistent with the Debtor’s schedules and I/we assume all responsibility for

 Date:          ‘/)        I   23
                                                                                      Signature of Lbt’

 Date:


 Date:                                                                             6%;/S gnature of A or                 for     ebtor (if appIcable)




                                                                                                              for the Central District of California.
                   This form a optional. It has been approved fOr use in the United States Bankruptcy Court
December 2015
                                                                                                 F 1007,1 .MAILING.LIST.VERIFICATION
                                                                                                                           ___________




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B2030 (Form 2030) (12/15)                                  Main Document     Page 12 of 28
                                                           United States Bankruptcy Court
                                                               Central District of California
 In re         SA Hospital Acquisition Group, LLC                                                              Case No.
                                                                                 Debtor(s)                     Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
         Pursuant to 11 U S.C. 329(a) and Fed. Bankr. P. 2016(b), 1 certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
               For legal services, I have agreed to accept a retainer of                                   $                 71,738.00

               Prior to the filing of this statement t have received a retainer of                         $                 71,738.00

               Balance Due                                                                                 $                       0.00

2.       The source of the compensation paid to me was:

               fl Debtor          [?j   Other (specify): Brian L. Hanna paid the retainer. Mr. Hanna is not a creditor of the Debtor and is not seeking
               repayment of the retainer. It is a gift contribution to the Debtor.

3.       The source of compensation to be paid to me is:

               [1 Debtor          F]    Other (specify):

4.       F1 I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                                                  or associates of my law firm. A
         F] I have agreed to share the above-disclosed compensation with a person or persons who are not members
                                                                                                           is attached.
               copy of the agreement, together with a list of the names of the people sharing in the compensation

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.   Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:
         b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.   [Other provisions as neededj


6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                        CERTIFICATION
         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this


        Date                                                                   7     Michef Jay Berger
                                                                                 Signature ofAttorney    //
                                                                                                           I   /
                                                                                     Law Offices of Miche,I Jay Berger
                                                                                     9454 Wilshire Bouljárd, 6th floor
                                                                                     Beverly Hills, CA 90212
                                                                                     (310) 271-6223 Fax: (310) 271-9805
                                                                                     michael.berger@bankruptcypower.com
                                                                                     Name of/an’ firm
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                   Daily Law Group
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                   Newport Beach, CA 92660


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                   Barrington, NJ 08007


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                   c/c The LaSource Group
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                   North East, PA 16428


                   Boston Scientific Corp.
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                   College Station, TX 77842
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